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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

                                             )
UNITED STATES OF AMERICA                     )
                                             ) No. 5:18 CR 448
                      Plaintiff,             )
                                             ) AFFIDAVIT OF TAMI LOEHRS
       v.                                    )
                                             )
PHILIP M. POPA, JR.                  )
                                             )
                      Defendant.             )


I, TAMI L. LOEHRS, hereby declare as follows:

       1.      I am a digital forensics expert and owner of Loehrs Forensics, LLC (formerly

Loehrs & Associates) a firm specializing in digital forensics. My offices are located at 3037 West

Ina, Suite 121, Tucson, Arizona 85741. I am competent to testify and the matters contained

herein are based on my own personal knowledge.

       2.      I have been working with computer technology for over 20 years and I hold a

Bachelor of Science in Information Systems. I have completed hundreds of hours of forensics

training including courses with Guidance Software and Access Data. I am an EnCase Certified

Examiner (EnCE), an Access Data Certified Examiner (ACE), a Certified Computer Forensic

Examiner (CCFE) and a Certified Hacking Forensic Investigator (CHFI). I have conducted

hundreds of forensics exams on thousands of pieces of evidence including hard drives, cell

phones, removable storage media and other electronic devices. I have conducted seminars on

Computer Forensics and Electronic Discovery throughout the United States. In addition, I hold

a Private Investigator Agency License in the State of Arizona which requires a minimum of

6,000 hours investigative experience. My Curriculum Vitae is attached as Exhibit A.

       3.      I have been the digital forensics expert for the defense on over 500 child

pornography cases throughout the United States and internationally since the year 2000 and

have testified over one hundred and twenty times in State, Federal and international Courts.


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          4.   I was contacted by Andrea Whitaker, counsel for Defendant Philip Popa, on

February 1, 2019, to facilitate retaining my services for the purpose of assisting with matters

related to the searching, collecting, analyzing and producing of electronic evidence in this

matter.

          5.   I have reviewed discovery materials including, but not limited to, Affidavit of FBI

Task Force Officer Ryan D. Anschutz dated July 19, 2018, FBI 302’s documenting the

investigation, execution of the search warrant, and arrest of Mr. Popa, Investigation Protocol

Report, and the Indictment.

          6.   According to the Affidavit of Officer Anschutz, this case originated in April, 2018

when “a computer running Freenet software, with an IP address of 173.90.126.69, with 13.1

peers, requested from a law enforcement computer 136 out of 1786 total pieces needed to

assemble a file with a SHA1 digital hash value of ATLOOVASIDQV6JPNOK4Z3MTKWGYFYS6W.”

That is, the computer at the suspect IP address reportedly requested less than .075% of a file

which would likely render that file non-viewable and would not, in that incomplete state,

contain child pornography. Officer Anschutz then downloaded the completed file from

someone other than the suspect and describes the content of the completed file in his

Affidavit. This activity occurred for several additional files, none of which the suspect reported

having 100% of the content.

          7.   I have worked on hundreds of cases throughout the country involving law

enforcement’s investigations of P2P and BitTorrent file sharing networks, including the use of

Freenet, which has brought to light serious issues with regard to the accuracy and reliability of

the proprietary software used by law enforcement to conduct these investigations and whether

that software is going beyond information that is publicly available as well as reporting false

information regarding files that do not exist on a suspect computer and/or do not contain child

pornography.




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       8.      One of the primary issues with law enforcement’s investigations of file sharing

networks is their use of hash values to identify and describe files that they claim exist at a

suspect’s IP address.

       9.      A hash value is synonymous with a SHA1 value which is a mathematical

algorithm that converts data into a small datum, usually a single integer. Essentially, a hash

value is a file’s signature and no two files should have the same signature. Any change in the

file’s data would result in a different hash value. As such, a partially downloaded file would not

have the same hash value as the same file that had completed the download process. The file

name itself does not affect the hash value. Therefore, two identical files may have different file

names but the hash values will match. Conversely, two files with identical file names but

different content will have different hash values.

       10.     While it is true that a hash value is essentially a file’s fingerprint, this is only true

if the file has actually been hashed. That is, anytime a single bit of data changes on a file, the

algorithm must be recalculated and a new hash value is created. However, relying on hash

values to identify a file becomes problematic when those files are downloaded with file sharing

software on P2P networks because the files are not constantly hashed.

       11.     When a user downloads a file using a P2P file sharing application, whether on

purpose or inadvertently, the file name and hash value is recorded inside of a system file

associated with that P2P file sharing software installed on the computer. The hash value

recorded is that of the completed file and does not provide an accurate signature of the actual

content of the file because it takes time to download. For example, if I accidentally select a ten-

minute video for download but then cancel the download immediately, my computer will have

the file name and hash value of the completed ten-minute video. However, the actual video file

on my computer is empty because no content was downloaded prior to cancelling the process. In

that regard, it would be inaccurate to conclude that I had child pornography when I only had the

hash value and file name but no viewable video.


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       12.     In order for a file in the process of downloading to have a hash value that

accurately represents its content, the file would have to be continually hashed during the

download process. That is, every time a single bit of data changed during the download process,

the file would have to be re-hashed, the algorithm would change and thus, the recorded hash

value would be different. Because numerous files can be downloaded simultaneously, it is not

practical for the software to continually rehash every file during the download process and

would likely cause problems with the computer’s performance if this were to occur. Therefore,

the software simply records the hash value for each of the files in their anticipated completed

state regardless of the state in which they actually exist on the computer (ie: empty, partial,

corrupted, deleted, etc.)

       14.     Many files never complete the download process for reasons including, but not

limited to, the user cancels the download because they don’t want the file, the file was not

complete on the source computer and therefore could not be downloaded, the file is corrupted,

the connection was lost, etc. As such, the user ends up with file names and hash values on their

computer that represent files in their completed state, even though the files themselves were

never fully downloaded and/or never existed on the user’s computer. That is, files that a user

may have never intended to possess and that don’t actually contain child pornography

(including empty, incomplete, corrupted and even deleted files) will leave behind file names and

SHA values of the completed versions of those files.

       15.     The use of file sharing software in and of itself comes with hidden dangers

including mass downloading, files piggy-backing on other files, viruses, Trojans, hackers and

other vulnerabilities that may cause a user to have file names, hash values and even files they

did not want or did not intend to have. Even the most careful user who immediately recognizes

and deletes unwanted content retains remnants of the unwanted activity such as file names and

SHA values that may be falsely identified as illegal material during an undercover investigation.

Unless files are actually downloaded from the suspect computer and viewed, it would be


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impossible to say with any certainty which of those file names and SHA values represent

remnants of unwanted material and which of those file names and SHA values represent actual

files with illegal content. In spite of this, Officer Anschutz avers in his Affidavit that the IP

address associated with Mr. Popa contains child pornography based on incomplete files

reported by his law enforcement tool and then describes completed files that he downloaded

from other sources.

       16.     In a subsequent report prepared by Officer Anschutz in July, 2018, he indicates

that “law enforcement’s tool” analyzed the network and reported that it is significantly more

probable than not that the suspect IP address (Mr. Popa) was the original requestor of the child

pornography files. However, Officer Anschutz provides no information regarding “law

enforcements tool”, including whether that tool has been tested and validated, nor does he

provide any log files created by the law enforcement tool as foundation for his opinions. I know

from experience on hundreds of cases that law enforcement’s proprietary tools create log files

documenting activity which could be analyzed to corroborate or refute Officer Anschutz’s

conclusions. I also know from experience on Freenet cases, that Freenet creates detailed logs of

activity that could be analyzed to corroborate or refute Officer Anschutz’s conclusions although

no Freenet logs have been produced to my knowledge.

       17.     It is critical to Mr. Popa’s defense to understand how law enforcement’s

proprietary tool functions in order to determine its reliability and accuracy in identifying files

that Officer Anschutz claims originated from Mr. Popa’s IP address.

       18.     In order to understand the importance of testing and validating software, one

must have a basic understanding of software. In simplest terms, software is a set of instructions

or commands telling a computer what to do (i.e.: source code). Those instructions or commands

are written by people using high-level programming language and can encompass any task

imaginable from basic computer operating functions to malicious activity meant to harm and

disrupt. Programming is inherently complicated and humans are fallible. Therefore, when


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analyzing how a piece of software functions, one must not only consider the “best-case

scenario”, but the “what-if” scenario. In that regard, simply reviewing source code and

identifying what it “should do” is not a substitute for actual testing and validation. In my

experience, the best method with which to test and validate a piece of software is to apply the

scientific method which is based on observation and experimentation. Similar to how scientists

test a hypothesis, testing software involves running experiments with that software and

analyzing the results.

        19.     Software testing and validation is the process of ensuring that the instructions or

 commands written by people fulfill their intended purpose without faults, failures or

 malfunctions. And software testing and validation is unequivocally necessary because people

 make mistakes. With mission-critical software that must perform flawlessly, such as software

 used in medical devices and nuclear facilities, testing and validation methods are meticulously

 documented by organizations such as the FDA and the U.S. Department of Energy. Less critical

 software applications such as publicly available open source software like BitTorrent do not have

 formal testing and validation requirements because any failure or malfunction is typically

 unimportant. However, basic principles of software testing and validation have been used in the

 software industry for over 20 years and applicable software testing tenets include:

        •     A good test case has a high probability of exposing an error;
        •     A successful test is one that finds an error;
        •     There is independence from coding;
        •     Both application (user) and software (programming) expertise are employed;
        •     Testers use different tools from coders;
        •     Examining only the usual case is insufficient;
        •     Each new version requires independent testing.

       20.      In my forensic training, some of which has come directly from law enforcement, I

have been taught that I cannot rely on a tool (software) that has not been properly tested and

validated by me and is not available for testing and validation by my industry peers. This is why

most forensic examiners use tools like EnCase and FTK because they are industry standard tools


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that are available for testing and validation by anyone and, as such, have been accepted by the

Courts as viable tools. However, even those tools have been proven to produce inaccurate and

unreliable data at times which has only been discovered through the ability to test and validate

them.

        21.    The biggest challenge with developing an accurate tool is the diversity of data

being collected and analyzed. This is why even tools like EnCase and FTK sometimes produce

inaccurate and unreliable results. No two computer systems are identical. Computers are

installed with different operating systems and there are hundreds of different versions of the

same operating system, some are updated regularly and some are not updated at all. Those

operating systems have thousands of different settings that can make each system unique in how

it functions and records data. Within those operating systems a user can install millions of

different software applications from large commercially produced software to small home-made

software applications. Software applications may have bugs, data can be corrupted or

incomplete, computers can be infected with viruses, Trojans and other malware. All of these

variables have an effect on how that data is collected, analyzed and documented by a tool. While

a tool may provide accurate information on an updated Windows system without any malware,

the same tool may yield false results on a system that has not been updated and is infested with

viruses.

        22.    Although Officer Anschutz makes sworn statements about the existence of child

pornography at Mr. Popa’s IP address without ever downloading the completed files, and draws

conclusions about the files originating from that IP address without producing any data or

foundation for those conclusions, I am unable to corroborate or refute Officer Anschutz’s

findings until I am able to independently examine all electronic data supporting those

conclusions. I would anticipate needing approximately 40 hours to conduct a forensic

examination of the evidence, prepare a detailed report and supplement this Affidavit if



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Curriculum Vitae

TAMILOEHRS
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3037 West Ina, Suite 121 | Tucson, Arizona 85741
Ofc: 520.219.6807 | Email: TL@LoehrsForensics.com


           EDUCATION             University of Arizona - Business Administration
                                 Pima College - Legal Assistant Sciences
                                 University of Phoenix - Bachelor of Science, Information Systems (With Honors)

     CERTIFICATIONS              Licensed Private Investigator, AZ Department of Public Safety, License No. 1594838
       AND LICENSES              EnCase Certified Examiner (ENCE), Guidance Software (Since 2005)
                                 Access Data Certified Examiner (ACE) (Since 2008)
                                 Computer Hacking Forensic Investigator (CHFI) (Since 2010)
                                 Certified Computer Forensic Examiner (CCFE) (Since 2011)

           SPECIALIZED           EnCase Incident Response, Forensic Analysis and Discovery Course
             TRAINING            Arizona Semi Annual Conference Computer Crimes / Internet Fraud
                                 Access Data Boot Camp
                                 Access Data Windows Forensics
                                 How to Create and Perform Effective Keyword Searches
                                 Cell Phone Forensics
                                 Email Investigations
                                 File Recovery Through Data Carving
                                 Basic Investigations of Windows Vista
                                 Reverse Engineering Malware
                                 Incident Investigations
                                 Examining the Windows Registry
                                 Investigating Linux from a Forensic and Incident Response Perspective
                                 MySpace Investigations
                                 Cyber child Exploitation I - Investigations in the Workplace
                                 Mastering Conditions Forensics
                                 File Identification and Recovery Using Black-Hashed Hash Analysis
                                 Case Study Firefox Artifacts and Unallocated Space
                                 Hacking Malware
                                 Technical Profiling for Law Enforcement and Intelligence
                                 Vista Deep Dive I - Basic Investigations of Windows Vista
                                 Vista Deep Dive III - File and Registry Virtualization
                                 Malicious Artifacts Identification and Analysis
                                 Essential Macintosh Forensics
                                 FTK Transition 1.7 to 2.0
                                 ACE Prep
                                 Computer Forensics and Ethical Hacking
                                 IOS Forensics – A comprehensive Approach
                                 Mac OS X Lion Forensics Update
                                 Tracks Left by Covering Your Tracks
                                 What’s New in Windows Forensics
                                 A Forensic Look at Windows 8 Immersive Applications: What's Behind the Tiles
                                 Smart Device App Analysis
                                 Windows 8 File History Artifacts
                                 Ares and LimeWire Pro Peer to Peer Files Sharing Software Analysis
                                 Mac OS X Delving a Little Deeper
                                 Vehicle Systems Forensics
                                 How to Catch an Insider Data Thief
                                 Forensic Testimony in Court
                                 Ubiquity Forensics – Your iCloud and You
                                 Searching in EnCase 8 with EQL
                                 Digital Evidence from Social Networking Sites & Smartphone Apps
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                                 Digital Forensic Child Exploitation Investigations
                                 Smartphones: The Nexus of Evidentiary Data from Social Media to IoT
                                 How Artificial Intelligence is Becoming a Crucial Tool for Next Generation Law Enforcement
                                 Axcelerate in Action: Email Investigation Methods with Hillary Clinton's FOIA Release
                                 Jurisdiction in Cyberspace: A Question of Conflict of Laws?
                                 Damaged Device Forensics Complimentary
                                 Memory Forensics - Hunting Malware

       PROFESSIONAL              Computer Forensics Examiner
         EXPERIENCE              Loehrs Forensics, LLC. (Formerly Loehrs & Associates, Inc.)

                                 Computer forensics services, particularly pertaining to legal evidence, including forensic acquisitions of digital
                                 artifacts including computers, cell phones, removable storage media, digital cameras, gaming consoles, etc.; data
                                 collection and recovery from allocated and unallocated space; data analysis and conclusions regarding who, what,
                                 when, where and how data came to be on an artifact; detailed reporting of conclusions and analysis; and testimony
                                 regarding forensic procedures, analysis and conclusions.

                                 Technical experience also includes all aspects of information technology including designing, implementing,
                                 maintaining and troubleshooting networks; building and repairing computer systems including workstations and
                                 servers; software implementation and support for hundreds of applications; programming; configuring,
                                 maintaining and troubleshooting switches and routers; Internet services and web design; designing, maintaining
                                 and troubleshooting backup and disaster recovery systems.

       PROFESSIONAL              Forensic Expert Witness Association (FEWA)
       MEMBERSHIPS               Member of the Arizona Chapter
                                 Based in San Francisco, the Forensic Expert Witness Association (FEWA) is the only non-profit professional
                                 membership organization that verifies that each of its professional members has testified at least three times as an
                                 expert witness. FEWA is dedicated to the professional development, ethics and promotion of forensic consultants
                                 in all fields of discipline. FEWA provides professional education for experts of all levels of experience and also for
                                 those aspiring to be experts who have not yet testified, which spans all technical specialties.

                                 National Association of Public Defense (NAPD)
                                 Organizational Membership
                                 The National Association for Public Defense (NAPD) engages all public defense professionals into a clear and
                                 focused voice to address the systemic failure to provide the constitutional right to counsel, and to collaborate with
                                 diverse partners for solutions that bring meaningful access to justice for poor people. NAPD currently unites nearly
                                 7,000 practitioner-members across the country into a cohesive, unwavering, irrepressible community capable of
                                 bringing justice to a broken system.

            TESTIFYING           Trials: 52
           EXPERIENCE            Hearings: 72

                                 Trial: USDC, District of Arizona
                                 Child Pornography
                                 Attorney: Barbara Hull
                                 Case No. CR1701311-PHX-DGC

                                 Trial: USDC, District of Arizona
                                 Child Pornography
                                 Attorney: Philip Seplow
                                 Case No. CR1701107-01-PHX-SPL
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                                 Hearing: USDC, District of Arizona
                                 Child Pornography
                                 Attorney: Philip Seplow
                                 Case No. CR1701107-01-PHX-SPL

                                 Trial: USDC, District of Arizona
                                 Child Pornography
                                 Attorney: David Eisenberg
                                 Case No. CR 16-08202-PCT-ROS

                                 Hearing: USDC, District of Arizona
                                 Child Pornography
                                 Attorney: Stephanie Bond
                                 Case No. 4:16-CR-00046-RCC-DTF

                                 Hearing: USDC, Central District of California
                                 Probation Violation
                                 Attorney: Callie Steele
                                 Case No. CR08-00106-CBM

                                 Hearing: Escambia County Circuit Court, Florida
                                 Child Pornography
                                 Attorney: John Beroset
                                 Case No. 2016 CF 5144

                                 Hearing: Mohave County Superior Court, Arizona
                                 Child Pornography
                                 Attorney: Virginia Crews
                                 Case No. CR-2015-00312

                                 Hearing: Maricopa County Superior Court
                                 Child Pornography
                                 Attorney: Phillip Beatty
                                 Case No. CR2015-131645-001DT

                                 Hearing: USDC, District of Arizona
                                 Bank Fraud, Aggravated Identity Theft, Transactional Money Laundering
                                 Attorney: Ashley Adams
                                 Case No. CR-14-01066-PHX-DJH

                                 Hearing: Escambia County Circuit Court, Florida
                                 Child Pornography
                                 Attorney: John Beroset
                                 Case No. 2016 CF 5144

                                 Hearing: Bradford County Court of Common Pleas, Pennsylvania
                                 Child Pornography
                                 Attorney: Kristina Supler
                                 Case No. CP-08-CR-000141-2016

                                 Hearing: Orleans Criminal District Court, Louisiana
                                 Child Pornography
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                                 Attorney: Herbert Larson
                                 Case No. 523-930

                                 Hearing: Mohave County Superior Court, Arizona
                                 Child Pornography
                                 Attorney: Virginia Crews
                                 Case No. CR-2015-00312

                                 Hearing: Maricopa County Superior Court, Arizona
                                 Child Pornography
                                 Attorney: Cindy Castillo
                                 Case No. CR 2014-002842-001

                                 Hearing: Chester County Justice Center, Pennsylvania
                                 Child Pornography
                                 Attorney: Adam Bompadre
                                 Case No. Juvenile Court

                                 Hearing: USDC, Central District of California
                                 Child Pornography
                                 Attorney: James Riddet
                                 Case No. SACR14-00188

                                 Hearing: USDC, District of New Hampshire
                                 Child Pornography
                                 Attorney: Bjorn Lange
                                 Case No. CR15-110-01-PB

                                 Hearing: Court of Common Pleas, Lackawanna County Pennsylvania
                                 Child Pornography
                                 Attorney: Robert Trichilo
                                 Case No. 20161048

                                 Trial: Court of Common Pleas, Lackawanna County, Pennsylvania
                                 Child Pornography
                                 Attorney: William Peters
                                 Case No. CR-2013-2694-35

                                 Hearing: USDC, Central District of California
                                 Child Pornography
                                 Attorney: Craig Harbaugh
                                 Case No. CR 15-224-DMG

                                 Hearing: Second Judicial District Court Weber County, Utah
                                 Child Pornography
                                 Attorney: Tara Isaacson
                                 Case No. 131901792

                                 Hearing: USDC, Central District of California
                                 Probation Violation
                                 Attorney: Kim Savo
                                 Case No. CR 06-911-ODW
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                                 Hearing: USDC, Western District of Missouri
                                 Child Pornography
                                 Attorney: Kristin Jones
                                 Case No. 13-03081-01-CR-S-MDH

                                 Hearing: Second Judicial District Court Weber County, Utah
                                 Child Pornography
                                 Attorney: Tara Isaacson
                                 Case No. 131901792

                                 Trial: USDC, Southern District of California
                                 Child Pornography
                                 Attorney: Michael Crowley
                                 Case No. CR-03447

                                 Trial: Lancaster County Court of Common Pleas, Pennsylvania
                                 Child Pornography
                                 Attorney: Adam Bompadre
                                 Case No. CR-0000336-2015

                                 Hearing: Lancaster County Court of Common Pleas, Pennsylvania
                                 Child Pornography
                                 Attorney: Adam Bompadre
                                 Case No. CR-0000336-2015

                                 Hearing: USDC, Central District of California
                                 Child Pornography
                                 Attorney: Cuauhtemoc Ortega
                                 Case No. CR 15 00063

                                 Hearing: Maricopa County Superior Court, Arizona
                                 Child Pornography
                                 Attorney: Craig Gillespie
                                 Case No. CR2014-005922-001

                                 Trial: Yavapai County Superior Court, Arizona
                                 Luring of a Minor
                                 Attorney: Michael Alarid
                                 Case No. CR201300970

                                 Hearing: Pima County Superior Court, Arizona
                                 Divorce
                                 Attorney: Nicole Hinderaker
                                 Case No. N/A

                                 Trial: Pima County Superior Court, Arizona
                                 Child Pornography
                                 Attorney: Paul Skitzki
                                 Case No. CR-20141915

                                 Trial: Pima County Superior Court, Arizona
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                                 Child Pornography
                                 Attorney: Tatiana Struthers
                                 Case No. CR20111156-001

                                 Hearing: The University of the State of New York Education Department
                                 Determination of Good Moral Character
                                 Attorney: Carolyn Gorczynski
                                 Case No. N/A

                                 Hearing: USDC, Central District of California
                                 Child Pornography
                                 Attorney: James D. Riddet
                                 Case No. SACR14-00188

                                 Hearing: USDC, Eastern District of California
                                 Child Pornography
                                 Attorney: Michael Chastaine
                                 Case No. 2:12-CR-0401 KJM

                                 Hearing: Yavapai County Superior Court, Arizona
                                 Child Pornography
                                 Attorney: Michael Alarid
                                 Case No. CR201300970

                                 Trial: Essex Superior Court, Massachusetts
                                 Child Pornography
                                 Attorney: Mark Schmidt
                                 Case No. ESCR09-1514

                                 Trial: San Francisco Superior Court, California
                                 Impersonating Police Officer and Coercing Sex Acts
                                 Attorney: Phoenix Streets
                                 Case No. 14025591

                                 Trial: In the Crown Court at Kingston
                                 Child Pornography
                                 Attorney: Alex Chowdhury
                                 Case No. 01TW0018610/1

                                 Hearing: USDC, District of Nebraska
                                 Child Pornography
                                 Attorney: John H. Rion
                                 Case No. 8:13CR107

                                 Trial: County of Bernalillo District Court, New Mexico
                                 Homicide
                                 Attorney: Thomas M. Clark
                                 Case No. D-202-CR-2012-03537

                                 Trial: New Castle County Superior Court, Delaware
                                 Child Pornography
                                 Attorney: Thomas Foley
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                                 Case No. 13-01-011058

                                 Trial: Snohomish County District Court, Washington
                                 Child Pornography
                                 Attorney: Sarah Silbovitz
                                 Case No. CR13-1-01219-1

                                 Hearing: New Castle County Superior Court, Delaware
                                 Child Pornography
                                 Attorney: Thomas Foley
                                 Case No. 1310019248

                                 Trial: Pima County Superior Court, Arizona
                                 Homicide
                                 Attorney: Paul Eckerstrom and Alicia Cata
                                 Case No. CR20084012

                                 Trial: USDC, Southern District of New York
                                 Conspiracy, Wire Fraud
                                 Attorney: Marlon Kirton
                                 Case No.1:09-CR-01002-WHP

                                 Hearing: USDC, District of New Mexico
                                 Child Pornography
                                 Attorney: Jon Paul Rion
                                 Case No. 11CR-1690-MV

                                 Trial: USDC, Eastern District of Pennsylvania
                                 Child Pornography
                                 Attorney: Mark Greenberg
                                 Case No. CR12-228

                                 Trial: Ontario Court of Justice, Central West Region, Canada
                                 Child Pornography
                                 Attorney: Antal Bakaity
                                 Case No. SA 07 CR-267

                                 Hearing: USDC, District of Vermont
                                 Child Pornography
                                 Attorney: David McColgin
                                 Case No. 5:12-CR-44

                                 Trial: Pima County Superior Court, Arizona
                                 Child Pornography
                                 Attorney: Katherine Estavillo
                                 Case No. CR20102131-001

                                 Trial: USDC, Western District of New York
                                 Child Pornography
                                 Attorney: Igor Niman
                                 Case No. M-09-1129
              Case: 5:18-cr-00448-BYP Doc #: 25-1 Filed: 02/11/19 16 of 26. PageID #: 249
Curriculum Vitae

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                                 Hearing: Cochise County Superior Court, Arizona
                                 Child Pornography
                                 Attorney: Steve Sherick
                                 Case No. CR2010-00305

                                 Hearing: Maricopa County Superior Court, Arizona
                                 Homicide
                                 Attorney: Alan Tavassoli
                                 Case No. 2009-030306-001 SE

                                 Hearing: Pima County Superior Court, Arizona
                                 Child Pornography
                                 Attorney: Katherine Estavillo
                                 Case No. CR-20102131-001

                                 Trial: USDC, Northern Mariana Islands
                                 Child Pornography
                                 Attorney: Samuel Mok
                                 Case No. 12-00017

                                 Trial: USDC, Western District of Texas
                                 Child Pornography
                                 Attorney: Luis Islas
                                 Case No. 12-CR-217

                                 Hearing: USDC, Western District of Texas
                                 Child Pornography
                                 Attorney: Luis Islas
                                 Case No. 12-CR-217

                                 Trial: Yuma County Superior Court, Arizona
                                 Homicide
                                 Attorney: Kristi Riggins
                                 Case No. 1400CR2008-005

                                 Hearing: Collin County Superior Court, Texas
                                 Homicide
                                 Attorney: Jim Burnham
                                 Case No. 296-81605-2011

                                 Hearing: USDC, New Mexico, Santa Fe Divisional Office
                                 Child Pornography
                                 Attorney: John Paul Rion
                                 Case No. 11-23-6-0010

                                 Hearing: USDC, Central District of California
                                 Child Pornography
                                 Attorney: Gary Dubcoff
                                 Case No. CR 06-19 DSF

                                 Hearing: USDC, Northern District of Georgia
                                 Child Pornography
              Case: 5:18-cr-00448-BYP Doc #: 25-1 Filed: 02/11/19 17 of 26. PageID #: 250
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3037 West Ina, Suite 121 | Tucson, Arizona 85741
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                                 Attorney: Ann Fitz
                                 Case No. 1:11-CR-00067-RWS-JFK

                                 Trial: Cochise County Superior Court
                                 Child Pornography
                                 Attorney: Tanja Kelly
                                 Case No. CR201100293

                                 Trial: USDC, District of Arizona
                                 Hate Crime
                                 Attorney: Barbara Hull
                                 Case No. CR-09-712-PHX-DGC

                                 Trial: USDC, Western District of Wisconsin
                                 Fraud
                                 Attorney: David Mandell
                                 Case No. CR2011 0082

                                 Trial: Superior Court of Forsyth County
                                 Child Pornography
                                 Attorney: Romin Alavi
                                 Case No. 10CR-0118

                                 Hearing: Cochise County Superior Court
                                 Child Pornography
                                 Attorney: Mark Beradoni
                                 Case No. CR201000769

                                 Hearing: USDC, Middle District of Louisiana
                                 Child Pornography
                                 Attorney: Michael Reese Davis, Sr.
                                 Case No. 3-11-CR-000038-JJB-DLD

                                 Trial: Pima County Superior Court
                                 Child Pornography
                                 Attorney: Paul Skitzki
                                 Case No. CR-2010-2663

                                 Hearing: Maricopa County Superior Court
                                 Child Pornography
                                 Attorney: Craig Gillespie
                                 Case No. CR2009-114677001

                                 Trial: USDC, Northern District of California
                                 Computer Fraud
                                 Attorney: Manuel Araujo
                                 Case No. CR05-0812 RMW

                                 Hearing: Pima County Superior Court
                                 Child Pornography
                                 Attorney: Katherine Estavillo
                                 Case No. CR2010-1967
              Case: 5:18-cr-00448-BYP Doc #: 25-1 Filed: 02/11/19 18 of 26. PageID #: 251
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                                 Hearing: Forsyth County Superior Court
                                 Child Pornography
                                 Attorney: Romin Alavi
                                 Case No.10CR-0118

                                 Trial: USDC, District of Maine
                                 Child Pornography
                                 Attorney: Theodore Fletcher
                                 Case No. SA 07 CR-256

                                 Trial: USDC, Northern District of California
                                 Forgery
                                 Attorney: Elizabeth Falk
                                 Case No. CR10-0068

                                 Hearing: Commonwealth Court of Pennsylvania
                                 Child Pornography
                                 Attorney: John Abom
                                 Case No. CP-21-CR-724-20

                                 Trial: USDC, District of Arizona
                                 Child Pornography
                                 Attorney: David Cantor
                                 Case No. CR09-0794TUCJMR

                                 Trial: USDC, Middle District of Alabama
                                 Child Pornography
                                 Attorney: Susan James
                                 Case No. 2:09CR 73-MEF

                                 Trial: USDC, District of Alabama
                                 Child Pornography
                                 Attorney: Tim Halstrom
                                 Case No. 3:09-CR-159-WKW

                                 Trial: USDC, District of Delaware
                                 Child Pornography
                                 Attorney: Luis Ortiz
                                 Case No. 09-43-SLR

                                 Settlement Conference: Maricopa County Superior Court
                                 Child Pornography
                                 Attorney: Adrian Little
                                 Case No. CR09-000282

                                 Sentencing Hearing: USDC, Northern District of Texas
                                 Child Pornography
                                 Attorney: Jim Burnham
                                 Case No. 3:09-CR-339-M

                                 Hearing: Maricopa County Superior Court
              Case: 5:18-cr-00448-BYP Doc #: 25-1 Filed: 02/11/19 19 of 26. PageID #: 252
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                                 Child Pornography
                                 Attorney: William Foreman
                                 Case No. CR2009-007925-001 DT

                                 Civil Service Hearing: State of Arizona
                                 Unauthorized Use of Computer
                                 Attorney: Jeff Jacobson
                                 Case No. C2009-8685

                                 Hearing: USDC, District of Arizona
                                 Child Pornography
                                 Attorney: Leslie Bowman / Clint Liechty
                                 Case No. CR-09-441-TUC

                                 Trial: USDC, District of Arizona
                                 Child Pornography
                                 Attorney: Gary Kneip
                                 Case No. CR-08-433

                                 Hearing: USDC, District of Arizona
                                 Child Pornography
                                 Attorney: Harold Higgins
                                 Case No. CR09-1322TUC

                                 Trial: USDC, District of Arizona
                                 Child Pornography
                                 Attorney: Beau Brindley
                                 Case No. 05-CR-931

                                 Sentencing Hearing: USDC, District of Arizona
                                 Child Pornography
                                 Attorney: Neal Taylor
                                 Case No. CR08-310-PHX-PR

                                 Trial: USDC, District of California
                                 Child Pornography
                                 Attorney: Caro Marks
                                 Case No. CR S-07-290 WBS

                                 Trial: Commonwealth of Pennsylvania
                                 Child Pornography
                                 Attorney: Stanton Levenson
                                 Case No. CR 458-07

                                 Trial: USDC, District of New Mexico
                                 Homicide
                                 Attorney: Barbara Mandel
                                 Case No. 07614-RB

                                 Trial: Humboldt County Superior Court
                                 Child Pornography
                                 Attorney: Cathy Dreyfuss
              Case: 5:18-cr-00448-BYP Doc #: 25-1 Filed: 02/11/19 20 of 26. PageID #: 253
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3037 West Ina, Suite 121 | Tucson, Arizona 85741
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                                 Case No. 55-08-001612

                                 Trial: USDC, District of Georgia
                                 Child Pornography
                                 Attorney: Ann Fitz,
                                 Case No. 2:08 CR000033

                                 Hearing: Pinal County Superior Court
                                 Harassment
                                 Attorney: Morgan Alexander
                                 Case No. CR2008-00286

                                 Trial: Pima County Superior Court
                                 Child Pornography
                                 Attorney: David Euchner
                                 Case No.CR2004-2573

                                 Trial: USDC, District of California
                                 Violating Terms of MySpace
                                 Attorney: Dean Steward
                                 Case No. CR-08-582-GW-001

                                 Trial: USDC, District of Wyoming
                                 Child Pornography
                                 Attorney: Tom Smith
                                 Case No.07-CR-32-B

                                 Trial: USDC, District of Puerto Rico
                                 Child Pornography
                                 Attorney: Victor Gonzalez-Bothwell
                                 Case No. 07-140(CCC)

                                 Trial: USDC, District of Arizona
                                 Prostituting a Minor
                                 Attorney: Barbara Hull
                                 Case No. CR07-00871-001-PHX-ROS

                                 Trial: USDC, District of Arizona
                                 Child Pornography
                                 Attorney: Ralph Ellinwood
                                 Case No. CR05-1049-TUC-FRZ

                                 Hearing: USDC, District of California
                                 Child Pornography
                                 Attorney: Rachelle Barbour
                                 Case No. CR-S-07-0020

                                 Hearing: USDC, 379th Judicial District, Bexar County Texas
                                 Child Pornography
                                 Attorney: Evelyn Martinez
                                 Case No. 2006-CR-0477W
              Case: 5:18-cr-00448-BYP Doc #: 25-1 Filed: 02/11/19 21 of 26. PageID #: 254
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                                 Trial: USDC, District of Arizona
                                 Child Pornography
                                 Attorney: Laura Udall
                                 Case No. CR06-0825

                                 Trial: Coconino County Superior Court
                                 Child Pornography
                                 Attorney: Brad Bransky
                                 Case No. CR2006-1045

                                 Hearing: Pima County Superior Court
                                 Murder
                                 Attorney: Creighton Cornell
                                 Case No. CR2007-0403

                                 Hearing: Pima County Superior Court
                                 Evidence Tampering
                                 Attorney: Todd Jackson
                                 Case No. C2006-5273

                                 Hearing: Maricopa County Superior Court
                                 Child Pornography
                                 Attorney: Jason Lamm
                                 Case No. CR2007-006060

                                 Hearing: Coconino County Superior Court
                                 Child Pornography
                                 Attorney: David Bednar
                                 Case No. CR2007-0519

                                 Hearing: Maricopa County Superior Court
                                 Child Pornography
                                 Attorney: Gary Hendrickson
                                 Case No. CR2006-171689-001

                                 Trial: USDC, District of Arizona
                                 Can Spam
                                 Attorney: Michael Black
                                 Case No. CR05- 870PHX

                                 Hearing: Maricopa County Superior Court
                                 Child Pornography
                                 Attorney: Mark Hawkins
                                 Case No. CR2006-136640-001

                                 Hearing: Navajo County Superior Court
                                 Child Pornography
                                 Attorney: David Martin
                                 Case No. CV2005-013148

                                 Hearing: Pima County Superior Court
                                 IP Theft
              Case: 5:18-cr-00448-BYP Doc #: 25-1 Filed: 02/11/19 22 of 26. PageID #: 255
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3037 West Ina, Suite 121 | Tucson, Arizona 85741
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                                 Attorney: Todd Jackson
                                 Case No. C2005-5273

                                 Hearing: USDC, District of Arizona
                                 Child Pornography
                                 Attorney: Ralph Ellinwood
                                 Case No. CR05-1049-TUC-FRZ

                                 Hearing: USDC, District of Arizona
                                 Child Pornography
                                 Attorney: Steven West; Nesci, St. Louis & West
                                 Case No. CR04-2351-TUC-JMR

                                 Hearing: Maricopa County Superior Court
                                 Child Pornography
                                 Attorney: William Foreman
                                 Case No. CR2004-007249-001 DT

                                 Hearing: USDC, District of Arizona
                                 Child Pornography
                                 Attorney: Patricia Gitre
                                 Case No. CR03-490-PHX-ROS

                                 Hearing: Pima County Superior Court
                                 Child Pornography
                                 Attorney: Larry Rosenthal
                                 Case No. CR2001-1155

                                 Hearing: Pima County Superior Court
                                 Child Pornography
                                 Attorney: David DeCosta
                                 Case No. CR2002-0171

                                 Trial: Yuma County Superior Court
                                 Child Pornography
                                 Attorney: Richard Bock; Lingeman & Bock
                                 Case No. S1400 CR2000-00472
                                           CA CR02-0578


     PRESENTATIONS               August, 2018: Speaker
                                 Las Vegas Federal Public Defender
                                 Digital Forensics
                                 Las Vegas, Nevada

                                 September, 2016: Speaker
                                 Montana Criminal Defense Lawyers Association
                                 Computer Forensics
                                 Billings, Montana

                                 July, 2016: Speaker
                                 National Association for Public Defense
              Case: 5:18-cr-00448-BYP Doc #: 25-1 Filed: 02/11/19 23 of 26. PageID #: 256
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                                 Are Law Enforcement’s Online Investigations Violating the 4th Amendment?
                                 Tucson, Arizona

                                 July, 2016: Speaker
                                 National Association for Public Defense
                                 How to Know When Digital Evidence has been Manipulated or Fabricated
                                 Tucson, Arizona

                                 May, 2016: Speaker
                                 Association of Certified Fraud Examiners
                                 Computer Forensics & Fraud
                                 Albuquerque, New Mexico

                                 September, 2015: Speaker
                                 Arizona Information Defenders
                                 Computer Forensics
                                 Tucson, Arizona

                                 September, 2015: Speaker
                                 Association of Certified Fraud Examiners
                                 Computer Forensics & Fraud
                                 Tucson, Arizona

                                 February, 2015: Speaker
                                 Arizona Information Defenders
                                 Computer Forensics
                                 Tucson, Arizona

                                 March, 2014: Speaker
                                 Office of the Public Defender
                                 Computer Forensics
                                 San Francisco, California

                                 August, 2013: Speaker
                                 Office of the Public Defender
                                 Computer Forensics for Sex Cases
                                 Palm Beach Gardens, Florida

                                 September, 2012: Speaker
                                 Office of the Public Defender
                                 Computer Forensics for Sex Cases
                                 Fort Myers, Florida

                                 June, 2012: Speaker
                                 Annual APDA Statewide Conference
                                 Computer Forensics for Sex Cases
                                 Phoenix, Arizona

                                 June, 2012: Speaker
                                 Federal Community Defender for Eastern District of Pennsylvania
                                 New Issues in Computer Forensics
                                 Philadelphia, Pennsylvania
              Case: 5:18-cr-00448-BYP Doc #: 25-1 Filed: 02/11/19 24 of 26. PageID #: 257
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                                 September, 2011: Speaker
                                 Pima County Public Defender
                                 Computer Forensics
                                 Tucson, Arizona

                                 April, 2011: Speaker
                                 Delaware Federal Public Defender
                                 Computer Forensics
                                 Wilmington, Delaware

                                 September, 2010: Speaker
                                 Arizona Attorneys for Criminal Justice
                                 Fall Seminar 2010
                                 Digital Evidence
                                 Tucson, Arizona

                                 April, 2010: Speaker
                                 Office of Defender Services
                                 Conference for Federal Defender Computer Systems Administrators
                                 Computer Forensics / LimeWire
                                 Chicago, Illinois

                                 January, 2010: Speaker
                                 Administrative Office of the United States Courts
                                 Sixth National Seminar on Forensics Evidence and the Criminal Law
                                 Computer Forensics
                                 San Diego, California

                                 September, 2009: Speaker
                                 Arizona Attorneys for Criminal Justice
                                 Fall Seminar 2009
                                 Computer Forensics, A Case Study
                                 Tucson, Arizona

                                 April, 2009: Speaker
                                 Administrative Office of the United States Courts
                                 Portland Winning Strategies Seminar
                                 Computer Forensics
                                 Portland, Oregon

                                 April, 2008: Speaker
                                 National Defender Investigator Association
                                 National Conference
                                 Computer Forensics
                                 Las Vegas, Nevada

                                 November, 2007: Speaker
                                 Association of Legal Administrators
                                 Region 6 Educational Conference & Exposition
                                 E-Discovery and Potential Land Mines
                                 Tucson, Arizona
              Case: 5:18-cr-00448-BYP Doc #: 25-1 Filed: 02/11/19 25 of 26. PageID #: 258
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                                 October, 2007: Featured Speaker
                                 Lorman Education Services
                                 Computer Forensics and Electronic Discovery in Arizona
                                 Tucson, Arizona

                                 September, 2007: Featured Speaker
                                 National Defender Investigator Association
                                 Computer Forensics
                                 Phoenix, Arizona

                                 July, 2007: Featured Speaker
                                 Federal Community Defender Office of Pennsylvania
                                 Computer Forensics
                                 Philadelphia, Pennsylvania

                                 April, 2005: Speaker
                                 Fennemore Craig
                                 Electronic Discovery - A Case Study
                                 Tucson, Arizona

                                 March, 2005: Speaker
                                 Arizona Court Reporters Association Annual Convention
                                 Computer Forensics and Electronic Discovery
                                 Phoenix, Arizona

                                 March, 2005: Speaker
                                 Morris K. Udall Inn of Court
                                 Electronic Discovery
                                 Tucson, Arizona

                                 October, 2004: Featured Speaker
                                 Tucson Association of Legal Assistants
                                 Computer Forensics and Electronic Discovery
                                 Tucson, Arizona

                                 June, 2004: Vendor
                                 Arizona State Bar Convention
                                 Phoenix, Arizona

                                 October, 2003: Featured Speaker
                                 Arizona Association of Licensed Private Investigators (AALPI)
                                 Computer Forensics and Electronic Discovery
                                 Phoenix, Arizona

                                 February, 2003: Featured Speaker
                                 Arizona Association of Licensed Private Investigators (AALPI)
                                 Computer Forensics and Computerized Litigation
                                 Tucson, Arizona

                                 October, 2002: Featured Speaker
                                 Arizona Mystery Writers
              Case: 5:18-cr-00448-BYP Doc #: 25-1 Filed: 02/11/19 26 of 26. PageID #: 259
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                                 Computer Forensics
                                 Tucson, Arizona

                                 January, 2002: Featured Speaker
                                 Tucson Association of Legal Assistants
                                 Computer Forensics and Computerized Litigation

                                 July, 2001: Vendor
                                 CLE by the Sea - Electronic Courtrooms, Discovery of Electronically Stored Information
                                 San Diego, California

                                 June, 2001: Featured Speaker
                                 Technology for the Practice of Law
                                 Tucson, Arizona

                                 April, 2001: Vendor
                                 State Bar of Arizona - Technology Show
                                 Phoenix, Arizona

                                 January, 2001: Featured Speaker
                                 Internet Security Issues - Detection and Prevention
                                 Tucson, Arizona
